         Case 3:18-cr-00577-CRB Document 94 Filed 11/29/21 Page 1 of 3




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 9
10                              UNITED STATES DISTRICT COURT
11     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
13 UNITED STATES OF AMERICA,                           CASE NO. 3:18-cr-00577-CRB
14                     Plaintiff,                      DEFENDANT CHAMBERLAIN’S
                                                       REPLY IN SUPPORT OF
15               vs.                                   MOTIONS FOR RULE 17(c)
                                                       SUBPOENAS
16 MICHAEL RICHARD LYNCH AND
   STEPHEN KEITH CHAMBERLAIN                           Date: December 1, 2021
17                                                     Time: 1:30pm
            Defendants.                                Crtrm.: 6
18
                                                       Assigned to Hon. Charles R. Breyer
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     3762663.1                                                            Case No. 3:18-cr-00577-CRB
                        CHAMBERLAIN’S REPLY ISO MOTIONS FOR RULE 17(c) SUBPOENAS
         Case 3:18-cr-00577-CRB Document 94 Filed 11/29/21 Page 2 of 3




 1               The government does not oppose Chamberlain’s two Motions for Issuance of
 2 Rule 17(c) Subpoenas (ECF Nos. 81 and 87). Resp. at 3. The Government suggests
 3 three “refinements” to the applications: (1) the period for subpoena recipients to
 4 respond be extended to at least 90 days from the date of service; (2) responsive
 5 documents be produced to the Court, which in turn will provide them to the parties;
 6 and (3) the document subpoenas be converted to joint subpoenas for documents and
 7 trial testimony.
 8               The parties met and conferred on November 22, 2021 and have reached
 9 agreement on all three of the government’s suggestions, as follows:
10               First, with respect to length of time to respond, the parties have agreed that
11 the subpoenas should require compliance within 45 days. If a subpoena recipient
12 needs more time to comply, such party may seek an accommodation from
13 Chamberlain (or if necessary, from the Court).
14               Second, the parties agree that the subpoena recipients should provide
15 documents to the Court (or to simultaneously produce such documents directly to
16 the Chamberlain and the government), and that the same procedure will be followed
17 in connection with any subpoenas issued in connection with the government’s own
18 motion for Rule 17(c) subpoenas (ECF No. 91). (The form CAND 89B subpoenas
19 already command the subpoena recipient to produce documents at the courthouse.)
20               Third, the parties agree that the document subpoenas need not be converted to
21 joint subpoenas for documents and trial testimony.
22               For these reasons, the Court should issue the subpoenas proposed by
23 Chamberlain with the revision that the initial date for compliance be set for 45 days
24 from service. Chamberlain has submitted a proposed order attaching the requested
25 subpoenas with the revised return date.
26               Chamberlain has also submitted (attached to the same proposed order) revised
27 proposed letters rogatory, which we respectfully request that the Court execute and
28 direct the Clerk of the Court to transmit directly to the U.K. Central Authority, in
     3762663.1
                                                  2                       Case No. 3:18-cr-00577-CRB
                        CHAMBERLAIN’S REPLY ISO MOTIONS FOR RULE 17(c) SUBPOENAS
         Case 3:18-cr-00577-CRB Document 94 Filed 11/29/21 Page 3 of 3




 1 accordance with 28 U.S.C. 1781(b) (authorizing the district court to directly transmit
 2 letter rogatory requests to the relevant foreign authority). The U.K.-U.S. Mutual
 3 Legal Assistance Treaty of 1994 and the U.K. Crime (International Co-operation)
 4 Act of 2003 provide that the appropriate U.K. authority to receive letter rogatory
 5 requests in criminal matters is the U.K. Home Office. Therefore, Chamberlain
 6 respectfully requests that the letters rogatory be transmitted to that agency, as
 7 reflected in the proposed order.
 8
 9 DATED: November 29, 2021              Gary S. Lincenberg
                                         Bird, Marella, Boxer, Wolpert, Nessim,
10
                                         Drooks, Lincenberg & Rhow, P.C.
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12
13                                       By:
                                                           Gary S. Lincenberg
14
                                               Attorneys for Defendant Stephen Keith
15                                             Chamberlain
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                  CHAMBERLAIN’S REPLY ISO MOTIONS FOR RULE 17(c) SUBPOENAS
